            Case 8:15-bk-12524-CPM        Doc 13      Filed 01/14/16   Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

IN RE:                                         Case No. 8:15-bk-12524-KRM
Poornima R Kotha                               Chapter 7

       Debtor.                             /

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                   (RE: 8783 CHRISTIE DRIVE, LARGO, FL 33771)

                           NOTICE OF OPPORTUNITY TO
                        OBJECT AND REQUEST FOR HEARING

      Pursuant to Local Rule 2002-4, the Court will consider this motion, objection, or
other matter without further notice or hearing unless a party in interest files a response
within 21 DAYS from the date set forth on the proof of service attached to this paper plus
an additional three days for service. If you object to the relief requested in this paper, you
must file your response with the Clerk of the Court at Sam M. Gibbons United States
Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, FL 33602, and serve a copy on the
Movant's attorney, Christopher Giacinto, c/o Shapiro, Fishman & Gaché, 4630 Woodland
Corporate Blvd., Suite 100, Tampa, FL 33614.

        If you file and serve a response within the time permitted, the Court may schedule
and notify you of a hearing, or the Court may consider the response and may grant or deny
the relief requested without a hearing. If you do not file a response within the time
permitted, the Court will consider that you do not oppose the relief requested in the paper,
will proceed to consider the paper without further notice or hearing, and may grant the
relief requested.

       Comes now Nationstar Mortgage LLC, by and through its undersigned attorneys, moves

the Court for an Order Granting Relief from the Automatic Stay pursuant to 11 USC 362(d)(1)

and 11 USC 362(d)(2)(A) and in support thereof would show:

       1.     This is a motion pursuant to Bankruptcy Rule 4001(a) for Relief from the

automatic stay provisions of Section 362(a) of the Bankruptcy Code.
             Case 8:15-bk-12524-CPM          Doc 13       Filed 01/14/16    Page 2 of 3



        Nationstar Mortgage LLC, is a secured creditor by virtue of a promissory note, mortgage,

and assignment of mortgage(s) which is attached to this motion as Exhibit “A” on real property.

Said real property has the following legal description:

       LOT 4, BLOCK 14, SEMINOLE PALMS AT LARGO, ACCORDING TO THE MAP
       OR PLAT THEREOF, AS RECORDED IN PLAT BOOK 126, PAGES 84 THROUGH
       89, OF THE PUBLIC RECORDS OF PINELLAS COUNTY, FLORIDA.
       The common address is: 8783 Christie Drive, Largo, FL 33771.

       2.      Debtor(s) filed this case on December 17, 2015.

       3.      The above referenced real property has been claimed by the Debtor(s) as Non-

Homestead and has not been abandoned by the Trustee.

       4.      The approximate value of debt due is $178,130.84.

       5.      The Pinellas County Property Appraiser's website for the subject real property

reflects a market value of $75,681.00

       6.      The payments due pursuant to the aforementioned note and mortgage have been

in default, and remain in default since December 1, 2010.

       7.      That the Debtor failed to adequately protect the interest of the secured creditor.

       8.      That Nationstar Mortgage LLC, is prohibited from proceeding with foreclosure in

the State Court because of the pendency of this bankruptcy action, and that in the absence of the

Court's Order allowing the secured creditor to proceed with the foreclosure action the security

will be significantly jeopardized.

       9.      Nationstar Mortgage LLC also seeks relief to consider the Debtor for any short

sale or deed in lieu of foreclosure as alternatives to proceeding with a judicial foreclosure action.

       10.     Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, and itemized statements of running accounts,
             Case 8:15-bk-12524-CPM          Doc 13     Filed 01/14/16     Page 3 of 3



contracts, judgments, mortgages, and security agreements in support of right to seek a lift of the

automatic stay and foreclose if necessary.

       11.     Pursuant to M.D. Fla. L.B.R. 9004-2(f) the estimated time required for hearing is

five (5) minutes.

       12.     Once the stay is terminated, the Debtor will have minimal incentive to insure,

preserve, or protect the collateral; therefore, Secured Creditor requests that the Court waive the

14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

       WHEREFORE, the Nationstar Mortgage LLC, moves this Honorable Court for an Order

granting relief from the automatic stay and waiver of the 14-day stay imposed by Fed.R.Bankr.P.

4001(a)(3) .


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief
from the Automatic Stay and all exhibits, have been sent VIA CM/ECF electronic filing and/or
standard first class U.S. mail on this 14th day of January, 2016 to the following:

Poornima Kotha, 20617 Whitebud Court, Tampa, FL 33647
Ryan N Singleton, 3900 First Street North, Suite 100, St Petersburg, FL 33703
Dawn A. Carapella, P.O. Box 67, Valrico, FL 33595
United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602


                                              _/s/ Christopher Giacinto_______
                                              Christopher Giacinto
                                              FL Bar # 55866
                                              Shapiro, Fishman & Gaché, LLP
                                              Attorney for Secured Creditor
                                              4630 Woodland Corporate Blvd.
                                              Suite 100
                                              Tampa, FL 33614
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